               THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
              CRIMINAL CASE NO. 2:04-cr-00093-MR-DLH


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                     ORDER
                                )
                                )
CHADWICK LEE HIGHT,             )
                                )
                   Defendant.   )
_______________________________ )


       THIS MATTER is before the Court upon the Government’s Motion to

Terminate Supervised Release [Doc. 397].           The Defendant, who is

represented by counsel, does not oppose the Government’s motion.

       Upon review of the Government’s motion, the Court is satisfied that the

early termination of the Defendant’s supervised release in Case No. 2:04-cr-

00093-MR-DLH is warranted.         The Defendant will remain in custody

pursuant to his supervised release violation in Case No. 2:05-cr-00038-MR-

DLH.

       Accordingly, IT IS, THEREFORE, ORDERED that the Government’s

Motion to Terminate Supervised Release [Doc. 397] is GRANTED, and the




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Defendant’s term of supervised release in the above-referenced action is

hereby terminated.

     IT IS SO ORDERED.
                               Signed: November 16, 2015




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